     Case 3:12-cr-00182-JLS   Document 30   Filed 02/15/12   PageID.33   Page 1 of 1


                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA
                                                                         12 fEB 15 AN II: 19
UNITED STATES OF AMERICA,                   CASE NO. 12CR0182-JLS

                       Plaintiff,
               vs.
                                                                             f)f        DEPtH Y
                                            JUDGMENT OF DISMISSAL
ERNIE POLANCO (3),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

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 X__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Information:

     21:841(a) (1)



           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: FEBRUARY 14, 2012
                                              ernard G. Skomal
                                             U.S. Magistrate Judge
